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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                                      Chapter 11
WOODBRIDGE GROUP OF COMPANIES, LLC,
et al., 1                                                             Case No. 17-12560 (BLS)
                   Remaining Debtors.
                                                                      (Jointly Administered)

MICHAEL GOLDBERG, as Liquidating Trustee of                           Adv. Proc. No. 19-50899 (BLS)
the Woodbridge Liquidation Trust, successor in
interest to the estates of WOODBRIDGE GROUP
OF COMPANIES, LLC, et al.,

                                    Plaintiff,
          v.

KIRK T. GRIFFITH; MAINSTAR TRUST,
CUSTODIAN FOR THE BENEFIT OF KIRK
GRIFFITH TW003085,

                                    Defendants.


                 JUDGMENT PURSUANT TO STIPULATION OF JUDGMENT
                            AGAINST KIRK T. GRIFFITH

          In accordance with the Order Approving Stipulation for Judgment Against Kirk T.

Griffith (the “Order”) and Plaintiff having moved to enter Judgment pursuant to the Stipulation

For Judgment, and good cause appearing therefor,

          IT IS HEREBY ORDERED AND ADJUDGED THAT:

          1. Judgment is entered in favor of Michael Goldberg, as Liquidating Trustee of the

               Woodbridge Liquidation Trust, against Defendant Kirk T. Griffith in the amount of

               $426,178.31 (the “Principal Amount”) and for the disallowance of claim number


1
 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423.



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              6506 and scheduled claim ID 1010348, which shall be stricken from the claims

              register in these cases.

          2. Post-judgment interest at the federal judgment rate shall accrue on the Principal

              Amount from the date of entry of this Judgment.

          3. The Court retains jurisdiction to hear and determine all matters arising from or related

              to the Order and/or this Judgment.




 Dated: November 5th, 2020 Wilmington,
 Delaware                                     BRENDAN L. SHANNON UNITED STATES BANKRUPTCY JUDGE




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